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TRANSCRIPT ORDER

1. NAME 2. PH NUMBER 3. DATE
John B. Ennis, Esa. 40 {— ~~ 4 uly 11, 2021
4. DELIVERY ADDRESS OR EMAIL 5. CITY 6. STATE 7. ZIP CODE
belaw75@gmail.com Cranston Rl 02920
8. CASE NUMBER 9. JUDGE DATES OF PROCEEDINGS
- i 10. FROM 11. TO
12. CASE NAME LOCATION OF PROCEEDINGS

Fitch v. FNMA et al 13. cITY Providence 14. STATE RI
15. ORDER FOR

[_] APPEAL CRIMINAL CRIMINAL JUSTICE ACT [_] BANKRUPTCY
NON-APPEAL CIVIL IN FORMA PAUPERIS OTHER Matign hearin

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

PORTIONS DATE(S PORTIONS
VOIR DIRE TESTIMONY (Specify Witness)
OPENING STATEMENT (Plaintiff)
OPENING STATEMENT (Defendant)
CLOSING ARGUMENT (Plaintiff) PRE-TRIAL PROCEEDING (Spcy)
CLOSING ARGUMENT (Defendant)

OPINION OF COURT July 7, 2021 Entire heari
JURY INSTRUCTIONS OTHER (Specify)
SENTENCING

BAIL HEARING

17. ORDER
ORIGINAL ADDITIONAL

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CERTIFICATION (18. & 19.)
By signing below, | certify that f will pay all charges

18. SIGNATURE

CWA) ee

19. DATE
July 11, 2021

 

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